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                EXHIBIT 34
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                       Suspicious Orders
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                           Title 21 CFR 1301.74(b)
                                                                                A,,,      fri>11     5 '-'-J/llt#vf,j
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                                                                            • Ku" iw..J    '&ut    C"-J /,, t-4,,,...
                 Requires registrant to design & operate a                                 (
                  system to disclose suspicious orders of
                     controlled substances to the DEA


             '    The requirement is to report suspicious
                 orders, not suspicious sales after the fact.




                         .Suspicious Orders
            . :.- Suspicious orders include:
                       1. Unusual size
                       2.0eviations from a normal pattern
                       3. Unusual frequency                                                              \

             :.. Each controlled substance distributor mu st define their
                 own parameters for a suspicious order.

             :.. Suspicious order monitoring programs must evolve with
                 the demands of fighting the constantly changing illicit
                 drug market.




                          Suspicious Orders
             The responsibility for making the decision to
               ship rests with the supplier.


           *Registrants who routinely report suspicious
              orders yet fill these orders, with reason to
              believe they are destined for the illicit
              market, are failing to maintain effective
              controls against diversion.




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                    SAMHSA
         2005 National Survey on Drug Use
                 6.4 million persons aged twelve and older
                 admitted to using prescription drugs _for non-
                 medical reasons


         :;...      4.7 million used narcotic pain relievers
          ;..       1.8 million used tranquilizers
         >-         1.1 million used stimulants
         :.-        272,000 used sedatives




                    · SAMSHA
          2005 National Survey on Drug Use
         The illicit drug categories with the larges
            number of recent initiates:

         1.        Non-medical use of pain relievers
         2.        Marijuana
         3.        Non-medical use of tranquilizers
         4.        Inhalants
         5.        Cocaine




                  FURTHER INFORMATION
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